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 1                      IN THE UNITED STATES DISTRICT COURT
 2
 3                         EASTERN DISTRICT OF CALIFORNIA
 4
 5   TYSON HOWARD, individually,   )            2:16-CV-02292 LEK
 6   and on behalf of all others   )
 7   similarly situated,           )
 8                                 )
 9             Plaintiff,          )
10                                 )
11        vs.                      )
12                                 )
13   DJI TECHNOLOGY, INC., aka SZ )
14   DJI TECHNOLOGY CO., LTD.,     )
15                                 )
16             Defendant.          )
17   _____________________________ )

18               ORDER GRANTING IN PART AND DENYING IN PART
19       DEFENDANT’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
20
21                On January 24, 2017, Defendant DJI Technology, Inc.

22   (“Defendant”) filed its Motion to Dismiss the First Amended

23   Complaint (“Motion”).1       [Dkt. no. 17.]     Plaintiff Tyson Howard

24   (“Plaintiff”) filed his memorandum in opposition on February 14,

25   2017, and Defendant filed its reply on February 20, 2017.                 [Dkt.

26   nos. 19, 20.]      The Court finds this matter suitable for

27   disposition without a hearing pursuant to L.R. 230(g) of the

28   Local Rules of the United States District Court for the Eastern

29   District of California (“Local Rules”).          Defendant’s Motion is



          1
30          Plaintiff identifies the defendant as “DJI Technology,
31   Inc., aka SZ DJI Technology Co., Ltd.,” and describes it as “a
32   California corporation.” [Amended Complaint at ¶¶ 1-2.]
33   Defendant states that SZ DJI Technology Co., Ltd. “is a separate
34   entity, and it is not a business name of DJI Technology, Inc.”
35   [Mem. in Supp. of Motion at 2 n.2.] Because DJI Technology, Inc.
36   “is the American branch of . . . SZ DJI Technology Co., Ltd.,”
37   SZ DJI Technology Co., Ltd. has not appeared in this case. [Id.
38   at 2 & n.2.]
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 1   hereby granted in part and denied in part for the reasons set

 2   forth below.

 3                                  BACKGROUND

 4             Plaintiff filed his original Class Action Complaint

 5   (“Complaint”) on September 26, 2016.        [Dkt. no. 1.]    On

 6   November 22, 2016, Defendant moved to dismiss the Complaint

 7   (“First Motion to Dismiss”), and Plaintiff filed his First

 8   Amended Class Action Complaint (“Amended Complaint”) on

 9   December 13, 2016.    [Dkt. nos. 9, 11.]     In light of the filing of

10   the Amended Complaint, this Court denied the First Motion to

11   Dismiss as moot.   [Dkt. no. 13.]

12             Because the issue of class certification is not

13   currently before this Court, it will only consider Plaintiff’s

14   individual allegations for purposes of the instant Motion.

15   According to the Amended Complaint, Defendant is a California

16   corporation that maintains, sells, and distributes drones and

17   video recording devices.     [Amended Complaint at ¶ 2.]       It

18   “conducts a large share of its business within California” and

19   “Plaintiff alleges, on information and belief, that Defendant’s

20   marketing campaigns, as pertains to this matter, were created by

21   Defendant at its principle place of business in California, and

22   were disseminated from California.”       [Id. at ¶¶ 11-12.]

23             Around September 2015, Plaintiff purchased a DJI

24   Phantom III Standard drone from Defendant’s website for


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 1   approximately $800.         Later that month, he purchased a DJI

 2   Phantom III Pro drone from Defendant’s website for approximately

 3   $1300.2      [Id. at ¶¶ 16-19, 21-22.]       According to Plaintiff,

 4   “Defendant advertised through written representations that

 5   Plaintiff would receive [the Drones] with high definition

 6   [(“HD”)] recording capabilities.”            [Id. at ¶ 20.]    According to

 7   Plaintiff, Defendant’s website for the DJI Phantom III Standard

 8   drone “prominently advertises the ability of the camera on the

 9   drone to capture ‘2.7K HD Video,’” and its website for the DJI

10   Phantom III Pro drone “prominently advertises the ability of the

11   camera on the drone to capture ‘4K HD Video.’”              [Id. at ¶¶ 21-

12   22.]       Based on Defendant’s representations, Plaintiff believed

13   that the Drones “would meet his needs and expectations as to the

14   quality of the video recordings,” and he purchased the Drones

15   based on Defendant’s representations.            [Id. at ¶¶ 23-24.]

16                  After he purchased the Drones, Plaintiff learned that

17   they were not capable of recording at the definition level

18   advertised, and they “recorded video at inferior qualities

19   significantly below 2.7K and 4K.”            [Id. at ¶¶ 25-26.]     According

20   to Plaintiff, the prices of the Drones were higher than they

21   would have been without the advertised recording capabilities, as

22   evidenced by the fact that the DJI III Pro – which advertised “a


            2
23          This Court will refer to the DJI Phantom III Standard
24   drone and the DJI Phantom III Pro drone that Plaintiff purchased
25   collectively as “the Drones.”

                                              3
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 1   ‘significantly improved’ 4K camera” – was more expensive than the

 2   DJI III Standard.     [Id. at ¶¶ 33-34.]     Plaintiff alleges that

 3   Defendant’s “sales tactics rely on falsities and have a tendency

 4   to mislead and deceive a reasonable consumer.”          [Id. at ¶ 27.]

 5   Plaintiff alleges that Defendant’s false representations about

 6   the Drones’ HD recording features “were part of a common scheme

 7   to mislead [Plaintiff] and incentivize [him] to purchase [the

 8   Drones] in spite of the lack of the promised” HD recording

 9   capabilities.    [Id. at ¶¶ 29-30.]      Plaintiff would not have

10   purchased the Drones if he knew that Defendant’s representations

11   about the HD recording capabilities were false and if he had

12   known what the Drones’ actual recording capabilities were.              [Id.

13   at ¶¶ 31-32.]

14              The Amended Complaint alleges the following claims:

15   violation of the California False Advertising Law (“FAL”), Cal.

16   Bus. & Prof. Code § 17500, et seq. (“Count I”); [id. at ¶¶ 52-

17   62;] and violation of the Unfair Competition Law (“UCL”), Cal.

18   Bus. & Prof. Code § 17200, et seq. (“Count II”), [id. at ¶¶ 63-

19   81].   Plaintiff prays for: an order requiring Defendant “to

20   engage in corrective advertising”; [id. at ¶ 83.d;] actual,

21   punitive, and statutory enhanced damages; restitution of sale

22   prices paid; reasonable attorneys’ fees and costs; pre- and post-

23   judgment interest; and any other appropriate relief.

24   //


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 1                In the instant Motion, Defendant seeks dismissal of the

 2   Amended Complaint, with prejudice, pursuant to Fed. R. Civ. P.

 3   9(b) and 12(b)(6).

 4                                     DISCUSSION

 5                This district court has recognized that the Fed. R.

 6   Civ. P. 9(b) heightened pleading standard applies to claims

 7   brought under Cal. Bus. & Prof. Code §§ 17200 and 17500.             See,

 8   e.g., Handy v. LogMeIn, Inc., No. 1:14–cv–01355–JLT, 2015 WL

 9   4508669, at *5 (E.D. Cal. July 24, 2015) (some citations omitted)

10   (citing Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir.

11   2009) (holding “Rule 9(b)’s particularity requirement applies” to

12   claims raised under Cal. Bus. & Prof. Code § 17200); VP Racing

13   Fuels, Inc. v. General Petroleum Corp., 673 F. Supp. 2d 1073,

14   1085-86 (E.D. Cal. 2009) (where the plaintiff alleged the

15   defendant knowingly made misrepresentations to the public and

16   “engaged in a fraudulent course of conduct,” the plaintiff was

17   required to meet the heightened requirements of Rule 9(b) to

18   state a claim under Cal. Bus. & Prof Code § 17500)).3

19                Rule 9(b) requires that, “[i]n alleging fraud or
20                mistake, a party must state with particularity the
21                circumstances constituting fraud or mistake.”
22                Fed. R. Civ. P. 9(b). “‘Fraud can be averred by
23                specifically alleging fraud, or by alleging facts
24                that necessarily constitute fraud (even if the
25                word “fraud” is not used).’” Kearns v. Ford Motor
26                Co., 567 F.3d 1120, 1124 (9th Cir. 2009) (quoting


          3
27          This Court will refer to the July 24, 2015 order as
28   “Handy II.”

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 1              Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1105
 2              (9th Cir. 2003)). “When an entire complaint, or
 3              an entire claim within a complaint, is grounded in
 4              fraud and its allegations fail to satisfy the
 5              heightened pleading requirements of Rule 9(b), a
 6              district court may dismiss the complaint or
 7              claim.” Vess, 317 F.3d at 1107 (9th Cir. 2003)
 8              (citing Bly-Magee v. California, 236 F.3d 1014,
 9              1019 (9th Cir. 2001)). Under Rule 9(b), the
10              circumstances constituting the alleged fraud must
11              be specific enough to give each defendant notice
12              of its particular misconduct so that the defendant
13              can defend against the charge instead of merely
14              denying that it did anything wrong. Kearns, 567
15              F.3d at 1124 (citing Bly-Magee, 236 F.3d at 1019).
16              To satisfy the particularity standard of
17              Rule 9(b), the plaintiff must set forth more than
18              the neutral facts necessary to identify the
19              transaction at issue. Id. (citing In re GlenFed,
20              Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir.
21              1994), superseded by statute on other grounds).
22
23   Agha-Khan v. Bank of Am., No. 1:17-cv-00011-DAD, 2017 WL 2833399,

24   at *5 (E.D. Cal. June 30, 2017) (alteration in Agha-Khan).

25   Further,

26                   The heightened pleading standard of Rule 9(b)
27              requires that “[a] complaint would need to state
28              the time, place, and specific content of the false
29              representations as well as the identities of the
30              parties to the misrepresentation.” Edwards v.
31              Marin Park, Inc., 356 F.3d 1058, 1066 (9th Cir.
32              2004); see also Kearns, 567 F.3d at 1126 (the
33              plaintiff must articulate the “who, what, when,
34              where, and how” of the fraud alleged[]). Only
35              factual allegations, rather than mere conclusions
36              satisfy this pleading burden. Moore v. Kayport
37              Package Express, Inc., 885 F.2d 531, 540 (9th Cir.
38              1989). If the factual allegations do not meet the
39              heightened pleading standard, the “averments . . .
40              should be disregarded, or stripped from the claim
41              for failure to satisfy Rule 9(b).” Kearns, 567
42              F.3d at 1124 (quotations omitted).
43
44   Handy II, 2015 WL 4508669, at *5 (some alterations in Handy II).


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 1                   Many courts in California have applied a
 2                   relatively straightforward test for the
 3                   application of Rule 9(b) to label-based fraud
 4                   claims. The “who” are the defendants; the “what”
 5                   are their allegedly misleading claims; the “when”
 6                   is the . . . period[] during which those claims
 7                   were made; the “where” is the offending label; and
 8                   the “how” is the plaintiff’s explanation why the
 9                   defendant’s claims are misleading.
10
11   Handy v. LogMeIn, Inc., No. 1:14–cv–01355–JLT, 2015 WL 1729681,

12   at *4 (E.D. Cal. Apr. 15, 2015) (citation and quotation marks

13   omitted).4

14   I.      Count I

15                   Count I alleges that Defendant made misrepresentations

16   about the Drones’ recording capabilities.              The claim is also

17   based on Defendant’s omissions, but Plaintiff does not clearly

18   identify what information was omitted.             [Amended Complaint at

19   ¶¶ 55-56.]        Read as a whole, the Amended Complaint alleges that

20   Defendant omitted what the Drones’ actual recording capabilities

21   were.        See, e.g., id. at ¶ 32 (“Had Defendant properly marketed,

22   advertised, and represented the [Drones] as lacking high

23   definition recording, Plaintiff would not have purchased the

24   product.”).

25                        California’s False Advertising Law prohibits
26                   any person or entity from making an untrue and
27                   misleading statement in advertising. Cal. Bus. &
28                   Prof. Code § 17500. It is unlawful for any
29                   company to make any statement concerning products
30                   offered, which is known or should be known, to be


             4
31          The Court will refer to the April 15, 2015 order as
32   “Handy I.”

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 1             untrue or misleading. Cal. Bus. & Prof. Code
 2             § 17500. A false advertising claim under this
 3             section may be brought “where the advertising
 4             complained of is not actually false, but thought
 5             likely to mislead or deceive, or is in fact
 6             false.” Day v. AT&T Corp., 63 Cal. App. 4th 325,
 7             332, 74 Cal. Rptr. 2d 55 (1998). Thus, the FAL
 8             proscribes “not only those advertisements which
 9             have deceived or misled because they are untrue,
10             but also those which may be accurate on some
11             level, but will nonetheless tend to mislead or
12             deceive.” Id. (emphasis omitted). In addition, a
13             plaintiff may state a claim under the FAL for
14             fraudulent omissions by a defendant. See Ehrlich
15             v. BMW of North Am., 801 F. Supp. 2d 908, 916
16             (C.D. Cal. 2010).
17
18                  To state a cognizable claim for a fraudulent
19             omission, a plaintiff must allege the defendant’s
20             omission was “contrary to a representation
21             actually made by the defendant, or an omission of
22             a fact the defendant was obligated to disclose.”
23             Ehrlich, 801 F. Supp. 2d at 916 (quoting Falk v.
24             Gen. Motors Corp., 496 F. Supp. 2d 1088, 1094–95
25             (N.D. Cal. 2007)); see also Daugherty v. Am. Honda
26             Motor Co., Inc., 144 Cal. App. 4th 824, 835, 51
27             Cal. Rptr. 3d 118 (2006). Under California law,
28
29                   There are four circumstances in which
30                   nondisclosure or concealment may constitute
31                   actionable fraud: (1) when the defendant is
32                   in a fiduciary relationship with the
33                   plaintiff; (2) when the defendant had
34                   exclusive knowledge of material facts not
35                   known to the plaintiff; (3) when the
36                   defendant actively conceals a material fact
37                   from the plaintiff; and (4) when the
38                   defendant makes partial representations but
39                   also suppresses some material facts.
40
41             LiMandri v. Judkins, 52 Cal. App. 4th 326, 336, 60
42             Cal. Rptr. 2d 539 (1997) (quoting Heliotis v.
43             Schuman, 181 Cal. App. 3d 646, 651, 226 Cal. Rptr.
44             509 (1986)). . . .
45
46   Handy II, 2015 WL 4508669, at *5-6.

47   //

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 1        A.   Misrepresentation

 2             As to the alleged misrepresentation, the Amended

 3   Complaint alleges: the who – Defendant DJI Technology, Inc.; the

 4   what – the statements that the Drones were capable of HD

 5   recording; the where – the claims were made on the pages of

 6   Defendant’s website for the Drones; and the how – Plaintiff’s

 7   explanation that the Defendant’s claims were misleading because

 8   the Drones were not in fact capable of HD recording.          However,

 9   the Amended Complaint’s factual allegations about the when are

10   insufficient.   Plaintiff does allege that he bought the Drones

11   around September 2015, [Amended Complaint at ¶¶ 16, 18,] and that

12   he was “drawn to” the Drones because of Defendant’s

13   representations, which he relied upon when he decided to purchase

14   the Drones [id. at ¶¶ 23-24].      These allegations, taken to be

15   true for purposes of the Motion, are sufficient to support a

16   reasonable inference that Plaintiff viewed Defendant’s

17   representations about the Drones’ recording capabilities by

18   September 2015.   See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

19   (“To survive a motion to dismiss, a complaint must contain

20   sufficient factual matter, accepted as true, to ‘state a claim to

21   relief that is plausible on its face.’” (quoting Bell Atlantic

22   Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955 (2007)));

23   id. (“A claim has facial plausibility when the plaintiff pleads

24   factual content that allows the court to draw the reasonable


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 1   inference that the defendant is liable for the misconduct

 2   alleged.” (citing Twombly, 550 at 556, 127 S. Ct. 1955)).             The

 3   allegations, however, do not satisfy the heightened pleading

 4   standard because they do not sufficiently allege when Plaintiff

 5   was exposed to Defendant’s alleged misrepresentations.          The

 6   portion of Count I based on the alleged misrepresentations about

 7   the Drones’ recording capabilities must be dismissed.

 8             Defendant also argues that Plaintiff’s allegations are

 9   implausible because, after he allegedly learned that the DJI III

10   Standard did not have the advertised HD recording capability, he

11   purchased the DJI III Pro.     However, this argument raises

12   credibility issues, which are beyond the scope of the instant

13   motion to dismiss.   See Ransom v. McCabe, No. 1:13cv01779 AWI DLB

14   PC, 2015 WL 5159412, at *3 (E.D. Cal. Sept. 2, 2015) (citing

15   Albino v. Baca, 747 F.3d 1162, 1169 (9th Cir. 2014)), report and

16   recommendation adopted, 2015 WL 6438150 (Oct. 22, 2015).

17             Further, Defendant contends that Plaintiff has failed

18   to plead sufficient allegations regarding Defendant’s knowledge

19   that its representations about the Drones’ recording capabilities

20   were false/misleading.    Plaintiff alleges “Defendant knew that

21   their representations and omissions were untrue and misleading,

22   and deliberately made the aforementioned representations and

23   omissions in order to deceive reasonable Purchasers like

24   Plaintiff.”   [Amended Complaint at ¶ 56.]      Plaintiff’s general


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 1   allegation of Defendant’s knowledge and intent are sufficient.

 2   See Comm. to Protect Our Agric. Water v. Occidental Oil & Gas

 3   Corp., 235 F. Supp. 3d 1132, 1177 (E.D. Cal. 2017) (“While

 4   plaintiffs must plead the factual circumstances of fraud itself

 5   with particularity, they may allege specific intent to defraud

 6   through general allegations.” (citing In re GlenFed, Inc. Sec.

 7   Litig., 42 F.3d 1541, 1547 (9th Cir. 1994) (en banc))).

 8                Defendant argues that the dismissal should be with

 9   prejudice because it is not possible for Plaintiff to cure the

10   defect in this portion of Count I by further amendment.          See

11   Rodriguez v. Brown, 1:15-cv-01754-LJO-EPG-PC, 2016 WL 6494705, at

12   *3 (E.D. Cal. Nov. 1, 2016) (“Whether dismissal is with or

13   without prejudice will depend upon whether it is possible for

14   Plaintiff to cure any defects.” (citing Vess v. Ciba-Geigy Corp.

15   USA, 317 F.3d 1097, 1107–08 (9th Cir. 2003) (collecting cases))),

16   report and recommendation adopted, 2016 WL 7104173 (E.D. Cal.

17   Dec. 6, 2016).    Defendant argues that the First Motion to Dismiss

18   raised the same issues raised in the instant Motion, and

19   Plaintiff failed to cure the defects when he filed the Amended

20   Complaint.    Defendant contends that this shows that it would not

21   be possible for Plaintiff to cure any defects in a second amended

22   complaint.    This Court disagrees.     The only identified defect in

23   this portion of Count I is the failure to allege when Plaintiff

24   viewed Defendant’s alleged misrepresentations, and it is possible


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 1   for Plaintiff to cure this defect by amendment.        The dismissal of

 2   the portion of Count I based on Defendant’s alleged

 3   misrepresentations about the Drones’ recording capabilities is

 4   without prejudice.

 5        B.   Omission

 6             Plaintiff also pleads a related allegation that

 7   Defendant omitted information about what the Drones’ actual

 8   recording capabilities were.     Plaintiff’s allegations, if proven,

 9   could support a claim based on fraudulent nondisclosure.          See

10   LiMandri, 52 Cal. App. 4th at 336.      Defendant arguably had

11   exclusive knowledge of the Drones’ recording capabilities that

12   was not known to Plaintiff when he purchased them.         Plaintiff

13   also alleges that: Defendant deliberately concealed the Drones’

14   actual recording capabilities, which were material features of

15   the products.   [Amended Complaint at ¶¶ 23, 56.]        Similarly,

16   Defendant arguably made a partial representation, i.e. that the

17   Drones were capable of video recording, but suppressed the

18   material fact that the Drones were not capable of HD recording.

19             The portion of Count I based on Defendant’s alleged

20   omission, however, fails to state a plausible claim for the same

21   reason as the portion based on Defendant’s alleged

22   misrepresentation.   Plaintiff has not alleged when he viewed

23   Defendant’s materials which he alleges omitted information about

24   the Drones’ actual recording capabilities.       For the same reasons


                                        12
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 1   set forth as to the portion of Count I based on Defendant’s

 2   alleged misrepresentation, the portion of Count I based on

 3   Defendant’s alleged omission is also dismissed without prejudice.

 4   II.   Count II

 5              Count II alleges that Defendant’s actions, omissions,

 6   misrepresentations, and practices violate § 17200.

 7                   Under § 17200, unfair competition includes
 8              any “unlawful, unfair, or fraudulent business act
 9              or practice.” Cal. Bus. & Prof. Code § 17200.
10              Therefore, there are three prongs under which a
11              claim may be established under § 17200. Daro v.
12              Superior Court, 151 Cal. App. 4th 1079, 1093, 61
13              Cal. Rptr. 3d 716 (2007) (“Because section 17200
14              is written in the disjunctive, a business act or
15              practice need only meet one of the three
16              criteria-unlawful, unfair, or fraudulent-to be
17              considered unfair competition”); Lozano v. AT&T
18              Wireless Servs., 504 F.3d 718, 731 (9th Cir. 2007)
19              (“[e]ach prong . . . is a separate and distinct
20              theory of liability”).
21
22                   Actions prohibited by § 17200 include “any
23              practices forbidden by law, be it civil or
24              criminal, federal, state, or municipal, statutory,
25              regulatory, or court-made.” Saunders v. Superior
26              Court, 27 Cal. App. 4th 832, 838-39, 33 Cal. Rptr.
27              2d 438 (1994). Thus, the “unlawful” prong
28              requires an underlying violation of law. Krantz
29              v. BT Visual Images, 89 Cal. App. 4th 164, 178,
30              107 Cal. Rptr. 2d 209 (2001). An “unfair”
31              practice under section 17200 is one “whose harm to
32              the victim outweighs its benefits.” Saunders v.
33              Superior Court, 27 Cal. App. 4th 832, 839, 33 Cal.
34              Rptr. 2d 438 (1994). Finally, a “fraudulent” act
35              or practice under § 17200 is “one which is likely
36              to deceive the public,” and “may be based on
37              misrepresentations . . . which are untrue, and
38              also those which may be accurate on some level,
39              but will nonetheless tend to mislead or deceive.”
40              McKell v. Washington Mutual, Inc., 142 Cal. App.
41              4th 1457, 1474, 49 Cal. Rptr. 3d 227 (2006).
42

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 1                  Significantly, as with a False Advertising
 2             Law claim, a plaintiff may demonstrate a violation
 3             of the “fraudulent” prong of the UCL by showing
 4             that reasonable “members of the public are likely
 5             to be deceived.” Sybersound Records, Inc. v. UAV
 6             Corp., 517 F.3d 1137, 1151-52 (9th Cir. 2008); see
 7             also Bardin v. DaimlerChrysler Corp., 136 Cal.
 8             App. 4th 1255, 1261, 39 Cal. Rptr. 3d 634
 9             (2006). . . .
10
11   Handy I, 2015 WL 1729681, at *8 (some alterations in Handy I).

12   Count II relies all three prongs.

13        A.   Unfair

14             [T]his court has previously summarized the various
15             definitions of “unfair” under the UCL as provided
16             by the California courts:
17
18                  1.   “An act or practice is unfair if the
19                  consumer injury is substantial, is not
20                  outweighed by any countervailing benefits to
21                  consumers or to competition, and is not an
22                  injury the consumers themselves could
23                  reasonably have avoided.” Daugherty v. Am.
24                  Honda Motor Co., Inc., 144 Cal. App. 4th 824,
25                  839 (2006).
26
27                  2.   “‘[U]nfair’ business practice occurs
28                  when that practice offends an established
29                  public policy or when the practice is
30                  immoral, unethical, oppressive, unscrupulous
31                  or substantially injurious to consumers.”
32                  Smith v. State Farm Mut. Auto. Ins. Co., 93
33                  Cal. App. 4th 700, 719 (2001) (internal
34                  citation and quotation marks omitted).
35
36                  3.   An unfair business practice means “the
37                  public policy which is a predicate to the
38                  action must be ‘tethered’ to specific
39                  constitutional, statutory or regulatory
40                  provisions.” Scripps Clinic v. Superior
41                  Court, 108 Cal. App. 4th 917, 940 (2003).
42
43             Vincent v. PNC Mortgage, Inc., No. 14-00833, 2014
44             WL 2766116, at *8 (E.D. Cal. June 18, 2014).
45

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 1   Wilkins v. Bank of Am., N.A., No. 2:15-cv-02341-KJM-EFB, 2016 WL

 2   5940082, at *8 (E.D. Cal. Aug. 19, 2016) (some alterations in

 3   Wilkins).

 4               Count II alleges unfair business practices based the

 5   first two definitions.    As to the second definition, Plaintiff

 6   merely alleges, in conclusory fashion, that “Defendant’s acts,

 7   omissions, misrepresentations, and practices” are “substantially

 8   injurious . . . offend[] public policy, and [are] immoral,

 9   unethical, oppressive, and unscrupulous as the gravity of the

10   conduct outweighs any alleged benefits attributable to such

11   conduct.”   [Amended Complaint at ¶ 65.]      However, Plaintiff has

12   sufficiently alleged unfair business practices based on the first

13   definition.

14               The Amended Complaint alleges that Plaintiff has

15   suffered a substantial injury because he paid valuable

16   consideration for the Drones, which had higher prices because of

17   the advertised HD recording features, but which did not have

18   advertised features.    [Amended Complaint at ¶¶ 16-25, 33-35, 67.]

19   Plaintiff also alleges that Defendant’s practice of falsely

20   advertising and representing that the Drones were capable of HD

21   recording in order to induce consumers to purchase them did not

22   provide any benefit to Plaintiff or any other consumer.          Thus,

23   the injury that Plaintiff suffered is not outweighed by any

24   countervailing benefits to consumers.       [Id. at ¶¶ 35, 68.]


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 1   Finally, Plaintiff alleges that the injury he suffered is not one

 2   that consumers could have avoided because, based on the

 3   information Defendant made available about the Drones, consumers

 4   would not have realized that Defendant’s representations about

 5   the Drones’ ability to record HD video were false.         [Id. at

 6   ¶ 69.]    With respect to the unfair prong, Plaintiff has pled

 7   sufficient facts to state a § 17200 claim against Defendant.

 8        B.     Fraudulent

 9               [T]he fraudulent prong of the UCL is “governed by
10               the reasonable consumer test: a plaintiff may
11               demonstrate a violation by show[ing] that
12               [reasonable] members of the public are likely to
13               be deceived.” Rubio v. Capital One Bank, 613 F.3d
14               1195, 1204 (9th Cir. 2010) (citation omitted). A
15               UCL “plaintiff need not show that he or she or
16               others were actually deceived or confused by the
17               conduct or business practice in question.”
18               Schnall v. Hertz Corp., 78 Cal. App. 4th 1144,
19               1167 (2000). Whether a business practice is
20               deceptive will usually be a question of fact not
21               appropriate for decision on a motion to dismiss.
22               Williams v. Gerber Products Co., 552 F.3d 934, 938
23               (9th Cir. 2008). At the same time, an unfair
24               practice claim grounded in fraud must be pled with
25               the particularity required by Federal Rule of
26               Civil Procedure 9(b). Vess, 317 F.3d at 1103.
27
28   Wilkins, 2016 WL 5940082, at *8 (some alterations in Wilkins).

29               Reading the Amended Complaint as a whole, Plaintiff

30   alleges that Defendant falsely represented that the Drones had HD

31   recording capabilities and failed to disclose what the Drones’

32   actual recording capabilities were.      Plaintiff also alleges that

33   the public is likely to be deceived by Defendant’s practices

34   because, as evidenced by Plaintiff’s reasonable reliance on

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 1   Defendant’s statements, Defendant had unequal bargaining power

 2   over the public, [Amended Complaint at ¶ 73,] and the information

 3   Defendant made available about the Drones prevented Plaintiff and

 4   other consumers from learning until after purchase that the

 5   representations about the HD recording capabilities were false.

 6   Although Plaintiff alleges that he was actually deceived, see,

 7   e.g., id. at ¶ 73, because actual deception is not required, he

 8   is not required to allege when he was exposed to Defendant’s

 9   representations, as he is in his § 17500 claim.        Thus, his

10   failure to plead the “when” with particularity that was fatal to

11   Count I is not fatal to this portion of Count II.         With respect

12   to the fraudulent prong, Plaintiff has pled sufficient facts to

13   state a § 17200 claim against Defendant.

14        C.   Unlawful

15             As to the unlawful practices prong,

16             a plaintiff must show a violation of some
17             independent law. See Farmers Ins. Exch. v.
18             Superior Court, 2 Cal. 4th 377, 383 (1992). The
19             predicate violation may be federal, state, local,
20             or common law. Id. (section 17200 “borrows”
21             violations of other laws and treats them as
22             unlawful practices actionable separately under
23             section 17200). Because the statute borrows
24             violations of other laws, a failure to state a
25             claim under the underlying law translates to a
26             failure to state a claim under the unlawful prong.
27             See Saunders v. Superior Court, 27 Cal. App. 4th
28             832, 838 (Cal. Ct. App. 1994).
29
30   Wilkins, 2016 WL 5940082, at *8.        Plaintiff bases his claim under

31   the unlawful prong on the alleged violation of § 17500.          [Amended


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 1   Complaint at ¶ 78.]    However, because Count I fails to state a

 2   claim, Plaintiff has also failed to state a claim as to the

 3   portion of his § 17200 claim based on the unlawful prong, and

 4   must be dismissed.    The dismissal of this portion of Count II is

 5   without prejudice because it is possible for Plaintiff to cure

 6   the defects in Count I by amendment.

 7                                    CONCLUSION

 8                On the basis of the foregoing, Defendant’s Motion to

 9   Dismiss the First Amended Complaint, filed January 24, 2017, is

10   HEREBY GRANTED IN PART AND DENIED IN PART.       The Motion is GRANTED

11   insofar as Count I and the portion of Count II based on the

12   “unlawful” prong of Cal. Bus. & Prof. Code § 17200 are HEREBY

13   DISMISSED.    The Motion is DENIED as to the portion of Count II

14   based on the “unfair” and “fraudulent” prongs of § 17200 and

15   insofar as the dismissal of Count I and the portion of Count II

16   based on the “unlawful” prong is WITHOUT PREJUDICE.

17                The Court GRANTS Plaintiff leave to file a second

18   amended complaint by October 30, 2017.        If Plaintiff fails to

19   file his second amended complaint by October 30, 2017, this case

20   will proceed on the remaining portions of the First Amended Class

21   Action Complaint – the portions of Count II based on the unfair

22   and fraudulent prongs of § 17200.

23                IT IS SO ORDERED.

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 1             DATED AT HONOLULU, HAWAII, September 20, 2017.
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11                                     /s/ Leslie E. Kobayashi
12                                    Leslie E. Kobayashi
13                                    United States District Judge
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